       Dated: 4/5/2023




                        IN THE UNITED STATTES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


IN RE:                                    )
                                          ) Case No: 3:19-bk-07235
Cummings Manookian, PLLC,                 ) Chapter 7
                                          ) Honorable Charles M. Walker
             Debtor.                      )
__________________________________________)
                                          )
Jeanne Ann Burton, Trustee,               )
                                          )
             Plaintiff,                   )
                                          )
       v.                                 ) Adv. Proceeding: 3:20-ap-90002
                                          )
Hagh Law, PLLC; Afsoon Hagh; and          )
Manookian PLLC                            )
                                          )
             Defendants.                  )
__________________________________________)


                          ORDER DENYING MOTION TO DISQUALIFY
                          BANKRUPTCY JUDGE CHARLES WALKER

         THIS MATTER came before the Court for an evidentiary hearing1 on April 4, 2023. At

that time, Counsel for the Plaintiff and Counsel for Defendants and Brian Manookian2 appeared

and were heard. When counsel for the Movants sought to call his first witness, Trustee’s counsel




1
  The hearing was set to afford the opportunity for the movants to prosecute their motion either by introduction of
evidence and/or argument. “The purpose of an evidentiary hearing is to permit both parties to present their cases
and to challenge the other side's case in court and on the record.”
In re McCashen, 339 B.R. 907, 908 (Bankr. N.D. Ohio 2006)
2
  John T. Spragens and Craig V. Gabbert, Jr. for Hagh Law PLLC and Afsoon Hagh. Mr. Spragens also appeared on
behalf of Manookian PLLC and Brian Manookian as Movants.

                                                                                                                 1

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objected on the grounds that Movants filed their Witness list in violation of Local Rule 9014-1.3

The Court sustained the objection and no witnesses were presented per that oral ruling. The

Court then heard argument from both sides, and for the following reasons, the Motion to

Disqualify is DENIED.

The Motion to Disqualify

        Brian Manookian, a non-party to this action, 4 and Manookian PLLC (hereinafter

“Movants”), seek to have the sitting judge in this case recused for ex parte communications and

extrajudicial research regarding this case. The bases for this motion lie in statements made by

Trustee’s counsel during a deposition5on April 12, 20226, and those made in Judge Charles M.

Walker’s decision regarding discovery disputes that were the subject of a March 17, 2022

hearing.

        This motion alleges that ex parte communications about Brian Manookian made to the

Court were improper ex parte conversations requiring Judge Walker to recuse himself for


3
  Local Rule 9014 provides in relevant part: (1) Pretrial Court Filings. In addition to the initial disclosures
that may be invoked by paragraph (2) below, and regardless of whether such pretrial disclosure process
has been invoked,
every party shall file with the court and provide to every other party by noon 2 business days prior to
the hearing the following information regarding evidence it may present at a hearing or trial (other
than solely for impeachment purposes):
         (a) The name, address and telephone number of each witness the party expects to present
or may call if the need arises;
         (b) A copy of the transcript of testimony or affidavit of any witness whose testimony will
be offered in that form;
         (c) A list and copy, with appropriate identification, of each document or other exhibit a
party expects to offer or may offer as evidence. (For any matter to be heard in the Nashville Division,
the exhibits shall be filed and exchanged utilizing the court’s Electronic Evidence Submission
Application pursuant to the Electronic Evidence Procedures.) . . .
4
  Sole member of the Debtor and of Defendant, Manookian PLLC
5
  Philip Young, Trustee’s counsel in this matter, also served as the receiver in a related state court case.
6
  Although the referenced communication is referred to in footnote #2 of the motion and the transcript
attached, the communication is repeatedly referred to as a communication with chambers. Mr. Young
states that he spoke with Judge Walker’s courtroom deputy-at-the-time, an employee of the Clerk of
Court. No reference, allegation, or argument appears in the motion regarding any ex parte communication
between Mr. Young and chambers staff.

                                                                                                              2

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violating 28 U.S.C. §§ 455(a) and (b)(1), and the Code of Conduct for Federal Judges.7

Specifically, the motion refers to Judge Walker’s statements on the record in open court, with all

parties’ counsel present, regarding calls to the court from lawyers expressing their discomfort if

Mr. Manookian were to appear at hearings and depositions in this case. Transcript, P.84.

Movants allege that Judge Walker “engaged in multiple prohibited ex parte communications

about Brian Manookian and this proceeding with ‘at least two [unidentified] lawyers’ while this

action has been pending.” ECF 161, P1. It appears the allegation of “multiple . . . at least two

[unidentified] lawyers” includes a conversation the Trustee’s attorney had with a courtroom

deputy.8

        Movants go on to accuse Judge Walker of failing to notify the parties of “its repeated

conversations” alleging that the Court only did so much later to justify a ruling regarding the

location of depositions, and movants were not afforded the opportunity to respond. Additionally,

movants state that these communications had a “corrosive effect on the Court” which has only

recently become clear. Id. at P.2.

        The motion goes on to assert that Judge Walker’s statements regarding Mr. Manookian’s

“past behavior before tribunals” indicates that the judge has engaged in extrajudicial research

and has formed a bias against Mr. Manookian as a result – also requiring recusal. Id. The motion

quite emphatically states that “No court has ever found that he [Mr. Manookian] acted even

remotely inappropriately, much less in a physically threatening manner, during a deposition –

nor, crucially, does the record in this case support such a finding.” Id at P6.




7
  See § 20:118.25. Ethics and Code of Conduct for Federal Judges, 6 Pat. L. Fundamentals § 20:118.25
(2d ed.).
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  The Trustee’s attorney is identified in the motion at FN 2.

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        Co-counsel for Defendants Afsoon Hagh and Hagh Law PLLC filed a response joining in

the motion. In this response (ECF 173), those Defendants question the Court’s Order setting this

motion for evidentiary hearing (ECF 165)9 “when the person holding the most pertinent factual

information to resolve this motion is the Court, in terms of the contents of the ex parte

communications bearing on safety issues.” Id at P2. The Plaintiff/Trustee also filed a response,

emphasizing that the communications at issue although ex parte, were permissible. ECF 174.

Recusal Standards

        Fed. R. Bankr. P. 5004(a) mandates that a bankruptcy judge shall be governed by 28 USC

§ 455 and disqualified from presiding over a proceeding or contested matter in which the

disqualifying circumstance arises or, if appropriate, shall be disqualified from presiding over the

case. 28 U.S.C. § 455 provides the legal standards for disqualification of a Judge from a

proceeding: 28 U.S.C. § 455(a) and 28 U.S.C. §455 (b)(1). 10

                          1. Mandatory Recusal under 28 U.S.C. §455(a)

        The relevant sections of 28 U.S.C. 455 require that a judge be disqualified if there exists

a reasonable question as to his impartiality. 28 U.S.C. § 455(a). Specifically:

        (a) Any justice, judge, or magistrate judge of the United States shall disqualify
        himself in any proceeding in which his impartiality might reasonably be
        questioned.
        (b) He shall also disqualify himself in the following circumstances:
        (1) Where he has a personal bias or prejudice concerning a party, or personal
        knowledge of disputed evidentiary facts concerning the proceeding;
        28 U.S.C.A. § 455 (West)

         “A violation of § 455(a) is established when a reasonable person, knowing the relevant

facts, would expect that a justice, judge, or magistrate knew of circumstances creating an


9
  ECF 165 set the motion for evidentiary hearing on June 29, 2022. That hearing was canceled pending
resolution of the Appeal of this Court’s order at ECF 178
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   For the purposes of this Order, only the relevant sections of 28 U.S.C. 455 will be discussed.
Additionally, 28 U.S.C. § 455(d)(1) provides terminology infra.

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appearance of partiality....” Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 850

(1988). Scienter of the Judge is not required for a violation of § 455(a). Id. at 859. “[S]ection

455(a) was intended to establish an objective test.” Health Services Acquisition Corp. v.

Liljeberg, 796 F.2d 796, 800 (5th Cir. 1986). Judges must recuse themselves if a reasonable,

objective person, knowing all of the circumstances, would question the judge's impartiality.

Hughes v. United States, 899 F.2d 1495, 1501 (6th Cir. 1990).

       While this statute imposes a duty to recuse where grounds exist, there is also a duty not to

do so if no cause is shown. In re Fowler, No. 01-10615, 2004 Bankr. LEXIS 67 at *10 (Bankr.

E.D. Ky. Jan 29, 2004) (citing Computer Dynamics, Inc., 253 B.R. 693, 698 (E.D. Va. 2000)).

Since the standard is objective, "the judge need not recuse himself based on the 'subjective view

of a party' no matter how strongly that view is held." United States v. Sammons, 918 F.2d 592,

599 (6th Cir. 1990) (citing Browning v. Foltz, 837 F.2d 276, 279 (6th Cir. 1988), cert. denied,

488 U.S. 1018, 109 S. Ct. 816, 102 L. Ed. 2d 805 (1989). In fact, “there is as much obligation

upon a judge not to recuse himself when there is no occasion as there is for him to do so when

there is." Easley v. Univ. of Mich. Bd. of Regents, 853 F.2d 1351, 1356 (6th Cir. 1988)

(quoting In re Union Leader Corp., 292 F.2d 381, 391 (1st Cir. 1961)).”

                       2. Mandatory Recusal under 28 U.S.C. §455(b)(1)

       A Judge shall disqualify himself “where he has a personal bias or prejudice concerning a

party, or personal knowledge of disputed evidentiary facts concerning the proceeding.” 28

U.S.C. § 455(b)(1)

               a. Personal bias or prejudice

       Personal bias is prejudice emanating from a source other than participation in the

proceedings or prior contact with related cases. Wheeler v. Southland Corp., 875 F.2d 1246,



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1251 (6th Cir. 1989) (citing Demjanjuk v. Petrovsky, 776 F.2d 571, 577 (6th Cir. 1985), cert.

denied, 475 U.S. 1016, 89 L. Ed. 2d 312, 106 S. Ct. 1198 (1986)). Disqualifying prejudice or

bias must ordinarily be personal or extrajudicial. United States v. Sammons, 918 F.2d 592, 599

(6th Cir. 1990); Wheeler v. Southland Corp., 875 F.2d 1246, 1251 (6th Cir. 1989). Predilections

resulting from the record and/or proceedings before the judge, do not constitute bias unless they

display such a high degree of favoritism or antagonism as to make fair judgment impossible.

Liteky v. United States, 510 U.S. 540, 555 (1994). A judge's conduct must be “so extreme as to

display clear inability to render fair judgment" to be characterized as bias or prejudice. Id at 551.

       Moreover, a judge is charged with efficient and justiciable case administration. This

sometimes means navigating potential difficulties between the parties, as well as ensuring that all

proceedings are conducted fairly and do not put any party participating in the proceeding in a

position of concern or discomfort. “A judge's ordinary efforts at courtroom administration --

even a stern and short-tempered judge's ordinary efforts at courtroom administration -- remain

immune.” Id at 556.

       Under § 455(b)(1), the issue to be determined is whether the judge retains bias or

prejudice as to a particular party or has knowledge of disputed facts. In re AVN Corp., No. 98-

20098-L, 1998 WL 35324198 at *3 (Bankr. W.D. Tenn. Dec. 8, 1998). A judge should not

recuse himself if his alleged personal bias stems from the facts the judge learned when

participating in the case in his judicial capacity. United States v. Story, 716 F.2d 1088, 1090 (6th

Cir. 1983). “Under § 455(b)(1), as under § 455(a), inferences drawn from prior judicial

determinations concerning a party in the case in which recusal is sought are insufficient because

it is the duty of the judge to rule upon issues of fact and law and questions of conduct which

form part of the proceedings before him.” In re AVN at *3. The United States Supreme Court



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has emphasized that "judicial rulings alone almost never constitute a valid basis for a bias or

partiality motion." Liteky at 555.

                         b. Personal knowledge of disputed evidentiary facts

          ‘[P]ersonal knowledge' is “knowledge gained through firsthand observation or

experience, as distinguished from a belief based on what someone else has said.”

KNOWLEDGE, Black’s Law Dictionary (11th ed. 2019). Therefore, when it is clear that the

facts at issue were gleaned from the court record, including court filings and proceedings before

the judge, and thereby not from extrajudicial sources, the judge need not, and should not, recuse

himself. United States v. Baker, 441 F. Supp. 612, 618 (M.D.Tenn. 1977). See also Liteky at

551 (“[N]ot subject to deprecatory characterization as “bias” or “prejudice” are opinions held by

judges as a result of what they learned in earlier proceedings.”)

                               3. Code of Conduct for Federal Judges11

          The Code of Conduct for Federal Judges sets forth the obligations and constraints

imposed upon federal judges. This Code of Conduct is not a suggestion or a guideline, it contains

provisions that are to be adhered to in an effort to maintain the integrity of the judiciary and

cultivate confidence in the judicial process. The relevant provisions or Canons are set forth

below:

                               Canon 3: A Judge Should Perform the
                        Duties of the Office Fairly, Impartially and Diligently

                The duties of judicial office take precedence over all other activities. The
         judge should perform those duties with respect for others, and should not engage
         in behavior that is harassing, abusive, prejudiced, or biased. The judge should
         adhere to the following standards:
      (A) Adjudicative Responsibilities.
       [.]..



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     Hereinafter “Code of Conduct”

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      (4) A judge should accord to every person who has a legal interest in a
       proceeding, and that person's lawyer, the full right to be heard according to law.
       Except as set out below, a judge should not initiate, permit, or consider ex parte
       communications or consider other communications concerning a pending or
       impending matter that are made outside the presence of the parties or their
       lawyers. If a judge receives an unauthorized ex parte communication bearing on
       the substance of a matter, the judge should promptly notify the parties of the
       subject matter of the communication and allow the parties an opportunity to
       respond, if requested. A judge may:
   o (a) initiate, permit, or consider ex parte communications as authorized by law;
   o (b) when circumstances require it, permit ex parte communication for scheduling,
       administrative, or emergency purposes, but only if the ex parte communication
       does not address substantive matters and the judge reasonably believes that no
       party will gain a procedural, substantive, or tactical advantage as a result of the ex
       parte communication; . . .
   (C) Disqualification.
    (1) A judge shall disqualify himself or herself in a proceeding in which the judge's
       impartiality might reasonably be questioned, including but not limited to instances in
       which:
           o (a) the judge has a personal bias or prejudice concerning a party, or personal
               knowledge of disputed evidentiary facts concerning the proceeding;

§ 20:118.25. Ethics and Code of Conduct for Federal Judges, 6 Pat. L. Fundamentals § 20:118.25
(2d ed.)

       Canon 3C of the Code of Conduct mirrors § 455. The statutory provision is binding on

the courts as law applicable to whether recusal is required. “The substantially identical canon

provision is a subset of a code of judicial obligations that are ethically binding.” Ragozzine v.

Youngstown State Univ., 783 F.3d 1077, 1080 (6th Cir. 2015).

       “Based on Canon 2 of the Code of Judicial Conduct which states that ‘[a] judge should

avoid impropriety and the appearance of impropriety in all his activities’ § 455(a) provides that a

‘judge . . . . shall disqualify himself in any proceeding in which his impartiality might reasonably

be questioned.’” Securities Investor Protection Corp. v. Bell & Beckwith, 28 B.R. 285, 288,

(Bankr. N.D. Ohio 1983).




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                                    4. ExParte Communications

                           A. Definition

       Black's Law Dictionary defines "ex parte communication" as “A communication between

counsel or a party and the court when opposing counsel or party is not present.”

COMMUNICATION, Black's Law Dictionary (11th ed. 2019). Black's Law Dictionary further

defines "ex parte" as “[d]one or made at the instance and for the benefit of one party only, and

without notice to, or argument by, anyone having an adverse interest; of, relating to, or involving

court action taken or received by one party without notice to the other.” EX PARTE, Black's

Law Dictionary (11th ed. 2019)

                          B. Ex Parte and the Code of Conduct:
                       Communication Regarding Scheduling is Allowable.

       The Code of Conduct for Federal Judges discusses ex parte communications in Canon

3(A) stating specifically that “except as set out below, a judge should not initiate, permit, or

consider ex parte communications.” (emphasis added). Then below, Canon 3 states “A judge

may (b) when circumstances require it, permit ex parte communication for scheduling,

administrative, or emergency purposes, but only if the ex parte communication does not address

substantive matters and the judge reasonably believes that no party will gain a procedural,

substantive, or tactical advantage as a result of the ex parte communication.” Code of Conduct

Canon 3(A)(4)(b). Additionally, Canon 3 states that “[i]f a judge receives an unauthorized ex

parte communication bearing on the substance of the matter, the judge should promptly notify

the parties of the subject matter of the communication and allow the parties an opportunity to

respond, if requested.” Id. (emphasis added).




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        The 6th Circuit in Gerber v. Veltri verified that a communication between Judge and

counsel for limited, administrative purposes was not prohibited by Canon 3(A)(4)(b):

        “When circumstances require it, Canon 3(A)(4)(b) ‘permit[s] ex parte
        communication for scheduling, administrative, or emergency purposes,’ but only
        ‘if the ex parte communication does not address substantive matters and the judge
        reasonably believes that no party will gain a procedural, substantive, or tactical
        advantage as a result of the ex parte communication.’ Judge Zouhary's discussion
        with defense counsel was for these limited, administrative purposes. What is
        more, plaintiff identifies no advantage that defendant received as a result of the
        communication.”
        Gerber v. Veltri, 702 Fed. App’x. 423, 433 n.7 (6th Cir. 2017).

                           C. Ex parte communications on the record provide
                           all parties meaningful opportunity to address.

        Disclosing ex parte communications on the record and before counsel allows for any

objections and affords all parties the opportunity to correct any errors which may have resulted.

See Moore v. Mitchell, No. 1:00-CV-023, 2007 WL 4754340, at *30 (S.D. Ohio Feb. 15, 2007)

(citations omitted).

        As described by other Bankruptcy Courts and as noted in Black's Law Dictionary, “the

term ‘ex parte’ includes in the definition: ‘a judicial proceeding, order, injunction, etc., is said to

be ex parte when it is taken or granted at the instance and for the benefit of one party only, and

without notice to, or contestation by, any person adversely interested.’” (emphasis

supplied). Attorney Registration & Disciplinary Com. of Supreme Court of Illinois v. Betts, 143

B.R. 1016, 1019 (Bkrtcy.N.D.Ill. 1992) (quoting Black's Law Dictionary, (6th ed. 1990)).

Discussion

        The movants here rely on three immaterial facts to support their request for

disqualification: (1) the calls to the court by two lawyers advising of their concerns for their

safety regarding Brian Manookian, (2) Mr. Young’s communication with a courtroom deputy




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regarding the same concerns; and (3) Judge Walker’s statement on the record regarding Mr.

Manookian’s behavior in other tribunals.

       Movants argue that Judge Walker received numerous phone calls from attorneys

informing the court that there existed a restraining order against Mr. Manookian put in place by

an attorney for one of the creditors of the case and that those calls were impermissible ex parte

communications that prejudiced the judge against Mr. Manookian. The motion alleges that Mr.

Young also contacted the judge regarding the same situation.

       In fact, Judge Walker did not refer to his personal receipt of any calls regarding the case.

He did refer to the court receiving communication from lawyers about Mr. Manookian, but at no

time did Judge Walker indicate that any material issue was the topic of an ex parte

communication, nor did he state that there was any ex parte communication involving himself or

any chambers staff:

       [.] . . and I've had at least two lawyers call the Court and say they don't
       feel comfortable if your client is going to appear, . . .
       Transcript at p. 84

       Despite accusations to the contrary, Judge Walker fully explained on the record the effect

those calls had on his view of the matter before him:

       . . . and, you know, the Court takes those concerns very seriously and makes no
       conclusion on whether they are valid, they are perceptions which drive behaviors of other
       parties.
       Transcript at p. 85

       The Court is charged with the integrity of the record. Part of maintaining that integrity

involves courts calling for parties to articulate matters on the record. It is also important to note

that the record contains past rulings made by a tribunal in the proceeding, or in the case of

bankruptcy, an adversary to the proceeding. Moreover, Courts communicate with the parties to

an action via the record. That is why this Court disclosed the ex parte communications from

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counsel regarding the restraining order against Mr. Manookian on the record in open Court. That

is the way courts disclose these things.

       Although the motion states that the movants were never able to respond to the ex parte

representations or even make a record regarding those allegedly improper communications, when

given the opportunity, Mr. Spragens merely objected to the depositions being held at the

courthouse:

       MR. SPRAGENS: That's fine, Your Honor. And just for the record, I'll preserve
       my objection to that. And I heard Mr. Gabbert object to it earlier, as well.
       THE COURT: Okay. Well, if the parties can't agree, you know, you still have the
       opportunity to agree on a location.
       MR. SPRAGENS: Sure.
       Transcipt at p.83

       MR. SPRAGENS: Well, and, you know, my office is just down the street and
       parking is free. There's no security issue. I don't think that there's any record that
       would support that there is a security issue in this ordinary bankruptcy case
       involving professional lawyers on all sides. So this proposal was presented to me.
       I said I disagreed with it. And Mr. Young said, well, we'll take it up with the
       Court. So, you know, in my view, this is the departure from the norm, not the
       other way around.
       Transcript at p. 84


       Mr. Spragen’s disagreement that there was a security issue was heard and considered by

the court because it is the responsibility of the judge to consider any issues brought before him

that would impact the integrity of the judicial process. Mr. Spragen’s opinion, however, does not

trump a state court judge who found there to be a threat such that a restraining order was issued.

Security is one of the issues Judge Walker is charged with addressing. Doing so in an abundance

of caution does not indicate overreach or prejudice, but instead indicates his diligence in

protecting the parties and the veracity of the proceedings.

       The third occurrence that movants insist requires disqualification stems from Judge

Walker’s comments regarding Mr. Manookian’s behavior before other tribunals. Although

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movants insist that there is nothing in the record regarding information that would support these

comments, movants would be dead wrong.

        On November 18, 2019, the Trustee filed an Application and Notice to Employ Thompson

Burton PLLC as Special Counsel to the Trustee in the main bankruptcy case. See 3:19-bk-07235,

ECF 6. Brian Manookian, acting pro se12, filed an objection to the application. The Court

conducted a hearing on December 17, 2019 at which time both parties appeared and presented

argument. The Court took the matter under advisement, entering Order Regarding Trustee's

Application and Notice to Employ Thompson Burton PLLC as Special Counsel for the Estate and

Allowing the Trustee Until December 24, 2019 to File Supplemental Application and Supporting

Affidavit to Specifically Detail the Scope of Work and Provide Details and Full Disclosure of

Any Current or Potential Conflicts that May Exist. ECF 20. On December 21, 2019, the Trustee

filed a Supplemental Brief/Memorandum in Support of the Application to Employ Special

Counsel. ECF 21. Exhibit A to that filing was a copy of a Motion to Subject Property, Issue

Writs of Execution and Distrings/Fieri Facias, Appoint Receiver and Grant Injunctive Relief as

filed in the Circuit Court of Williamson County, Tennessee, filed on April 25, 2019. Id. at Ex. A.

The motion included the following relevant statements:

     5. After a series of hearings and follow-up motions that spanned more than two
     years, Judge Binkley of this Court found that Mr. Manookian had knowingly,
     willfully, and intentionally violated the Protective Order and, inter alia attempted “to
     mislead the Court from uncovering his violations of the Court’s Orders by any means
     necessary.”. . [.]
     6. Finding that Messrs. Manookian and Hammervold had (a) abused the discovery
     process, (b) failed to maintain candor with this court, (c) continuously violated the
     Agreed Protective Order, and (d) attempted to defaud the court for over two years,
     this Court imposed monetary sanctions on Mr. Manookian . . [.]




12
  Brian Manookian was acting in his capacity as owner of the Debtor, Cummings Manookian, PLLC. He was not
acting as an attorney representing himself as the owner due to his disbarment by the Tennessee Supreme Court.

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    Additionally, on page 14 of the referenced motion, there is an entire section entitled MR.

MANOOKIAN’S HISTORY OF VIOLATING COURT ORDERS in which Mr. Young, as

potential Receiver, illustrates Mr. Manookian’s behavior in other tribunals by recounting

sanctions imposed against him by federal and state courts for:

       -   Acting in bad faith and disrupting the litigation process

       -   Engaging in a pattern of obfuscation

       -   Failure to provide credible explanations

       -   Engaging in conduct that essentially amounted to a flouting of the Court’s Orders

       -   Repeatedly ignoring the clear directives of the Court

       -   Conducting himself in a reckless manner (emphasis added)

       Mr. Manookian prosecuted his objection to the Application but did not at any time

contest any supplement to the application that contained information about his behavior before

other courts.

       In the same vein, during the March 17, 2022 hearing, Mr. Spragens at no time expressed

any concern or asked even one question regarding the issue of the ex parte communications or

any alleged extrajudicial inquiry, despite numerous opportunities to address these alleged

egregiously prejudicial acts. In fact. Judge Walker expressed his objective approach to the

situation by pointing out that it would protect all parties from any uncomfortable situation or any

accusation, as well as aid in the expeditious and efficient administration of discovery:


       And to eliminate any of those perceptions, and to protect everyone against
       any allegations of bad behavior, misbehavior, or perceived misbehavior, it
       makes sense to do them here in an environment where no one can get your
       client further down a rabbit hole of he did this or he did that, that we're in a
       neutral environment, which affords certain protections. And if nothing else,
       in terms of everybody's on their best behavior.
       Transcript at p. 85

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       And so the Court's going to make that determination, that the depositions, unless
       the parties can agree, will be held here in the courthouse. And as a matter of fact,
       again, there will be some method available to reach the Court if during those
       depositions we have further issues with discovery.
       Transcript at p. 86

       Moreover, despite alleging a “corrosive effect on the Court,” movants point to no other

prejudice to Mr. Manookian than the location of the depositions. There was no accusation linked

to any ruling on a material issue, no objection overruled that hindered or impaired the movant’s

rights in this matter, and in fact, no instance of prejudice against the movants was articulated at

all. The prejudice alleged from these three occurrences was that the depositions in this case were

conducted in the courthouse. The location of depositions is an administrative issue, not a material

issue. It does not impact the issues before the Court. Although Movants insist that requiring the

depositions to be held in the courthouse reflects the presence of the Court’s prejudice against Mr.

Manookian, what it more reasonably reflects is the judge’s familiarity with the case. The hearing

on March 17, 2022 involved cross-motions to compel and reflected the biggest issue so far in this

adversary: discovery. In fact, the case is comprised mostly of three years of discovery disputes,

with rulings reflecting the Court’s stamina for fairness and justiciable administration of the case.

       Moreover, none of these issues are material to the case. Material to the logistics of the

case, sure, but given the inability of these parties and these witnesses to conduct discovery

without disagreeing about every little detail, it was necessary for the judge to rule on all of the

discovery matters and to do so in an equitable, fair and reasonable manner – and that he did. The

judge’s directions and rulings regarding the exhausting number disclosure disputes were clearly

issued so as to prevent all involved from becoming hostages of the discovery process.

       The expectation of lawyers in the discovery process, as reflected in the applicable rules,

is to conduct themselves in a professional, civil, and agreeable manner in order to resolve the

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case, either on the merits or by settlement. The contentious nature of these discovery proceedings

are a beast – one might say a gorilla - with which the Court has tamed as best as possible.

       Furthermore, this Court never had to rely on extrajudicial research. The record contains

the rulings from other tribunals that have found Mr. Manookian to have acted in bad faith,

engaged in a pattern of obfuscation, and conducted himself in a reckless manner. Specifically, a

Williamson County judge found that Mr. Manookian had knowingly, willfully, and intentionally

violated a Protective Order and then attempted to mislead that court about the violation. That

judge found Mr. Manookian’s behavior regarding discovery matters to be so egregious that he

imposed significant monetary sanctions against him. All of this is part of the record of this case.

       Additionally, this Court did not find that Mr. Manookian posed a threat. That was a

conclusion found by the state court that issued the restraining order. This Court simply sought to

honor that order – as federal courts do with most state court orders – and protect the integrity of

these proceedings. Further, Movants neglect to mention that this judge emphasized that having

the depositions in the courthouse protected everyone, including Mr. Manookian.

                                            Conclusion

       Therefore, although the Movants express their perceptions of bias and prejudice, the

record does not support that as a reasonable view. The record shows not only evenhanded

judgment in this proceeding, but also illustrates this Court’s elevated patience with a painful

number of discovery disputes, including the one that is the catalyst to this motion. Since any ex

parte communication was permissible in that it was not material but concerned security and

administrative procedures within the Court, and because no extrajudicial research was conducted

to impair this Court’s impartiality, it is mandatory that the motion to disqualify be denied. Since




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there was no reasonable possibility that the sitting judge’s objectivity and neutrality has been

compromised, it is incumbent that he remain on the case

       Therefore, for the reasons stated above, IT IS HEREBY ORDERED that the Motion to

Disqualify is DENIED.



                 THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                           INDICATED AT THE TOP OF THIS PAGE




                                                                      This Order has been electronically
                                                                      signed. The Judge's signature and
                                                                                                         17
                                                                      Court's seal appear at the top of the
                                                                      first page.
                                                                      United States Bankruptcy Court.

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